                  UNITED STATES BANKRUPTCY COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
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IN RE: BERNARD R. BERLOW and          : Chapter 7
      SARINA C. BERLOW,               :
                 Debtors              : Case No. 5-00-04223
_____________________________________________________________________

WILLIAM G. SCHWAB, TRUSTEE                      :
     FOR THE ESTATE OF                          :
     BERNARD R. BERLOW and                      :      Adv. No.
     SARINA C. BERLOW                           :
                Plaintiff                       :
     vs.                                        :
BERNARD R. BERLOW and                           :
SARINA C. BERLOW                                :
                Defendants                      :


           COMPLAINT TO OBJECT TO DISCHARGE UNDER SECTION 727


      The Trustee in the above-captioned matter objects to the discharge of the

Defendants under Section 727 of the Bankruptcy Code and alleges as follows:

      1.     The Debtors filed a Voluntary Petition under Chapter 13 of the Bankruptcy

Code on November 29, 2000.

      2.     On January 25, 2001, the Debtors filed their Schedules and Statement of

Financial Affairs. True and correct copy of Debtors’ Petition and Schedules are attached

hereto and made a part hereof as Exhibit “A”.

      3.     The Debtors’ original Schedule A listed several properties, which included the

Debtors’ primary residence at 338 Columbia Avenue, Palmerton, PA, and a Condo in Kihei

Bay, Hawaii, owned solely by the husband Debtor.

      4.     On Debtors’ original Schedule C, the Debtors claimed no exemptions.




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       5.     During the pendency of the Chapter 13 case, the Debtors filed several Motions

to Sell Real Estate concerning the properties listed on Schedule A.

       6.     More specifically, on September 12, 2001, a motion to sell the property at 715

S. Kiehei Road, Kihei, Hawaii was filed.

       7.     On October 25, 2001, the Order granted the Debtors’ Motion to sell the

property in Hawaii.

       8.     Pursuant to the Bankruptcy Code and Order of Court, the net proceeds of the

sale in the amount of $18,010.73, were to be turned over to the Chapter 13 Trustee for the

benefit the estate since no exemptions were taken in said property.

       9.     At no time did the Debtors turnover the proceeds of the sale, but rather, they

dissipated the funds, which included transferring monies to the Debtors’ bankruptcy counsel.

       10.    On February 13, 2004, the Debtors filed an Amended Schedule C, in which

the Chapter 13 Trustee and the United States Trustee filed objections.

       11.    On February 26, 2004, the Debtors case was converted to Chapter 7.

       12.    Thereafter, William G. Schwab, Esquire was duly appointed as the Chapter

7 Trustee.

       13.    On March 8, 2004, the Debtors filed a Motion to Reconsider the Order

converting the case.

       14.    On March 19, 2004, the United States Trustee filed an objection to Debtors’

Motion concerning the reconsideration of the Order converting the case to Chapter 7.

       15.    On March 23, 2004, the Debtors filed an Amended Schedules A through J.




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       16.     On the Amended Schedule C, the Debtors claim an exemption in the real

estate proceeds concerning the sale of the property in Hawaii, as well as an exemption in

their primary residence.

       17.     On March 31, 2004, the Chapter 13 Trustee filed an Objection to the Amended

Schedule C.

        18.    Upon a review of the Debtors’ Amended Schedule C, the Debtors are using

the current 2004 exemption amounts in an attempt to receive a claim in exemption that is

not permissible. In addition, the Debtor are using the current 2004 value of the residence,

rather than the value at the time of filing. For instance, the Debtors list the value of the

property as $155,000, however, they further admit that the value in 2000 was only

$126,000.00.

       19.     On the Debtors’ Amended Schedule C, Debtors attempt to claim an exemption

under 11 U.S.C. § 522 (d)(5) in the amount of $14,074.00 for the proceeds of the sale of

the Hawaii property, even though they have spent said funds.

       20.     During the pendency of the bankruptcy, the Debtors have disregarded an

Order of Court, and dissipated an asset of the estate in an amount in excess of $18,000.00.

       21.     Based upon the above, the Trustee is unable to conduct an adequate

investigation of the potential assets of the Debtors for the creditors.

       22.     The Debtors’ refusal to follow the Order of Court concerning the proceeds of

the sale of property, and neglect in providing accurate information concerning their assets

to the Trustee, has prevented the Trustee from efficiently administering the assets of the

Estate for the benefit of the creditors.




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       23.    The Debtors’ failure to provide truthful Petition and Schedules, and failure to

turnover estate property, despite their duty to do so, is such that they have concealed, and

dissipated property of the Estate after the date of filing, in that the Debtors’ Petition,

Schedules and related documents do not accurately reflect their case under Chapter 7.

       24.    The Debtors’ dissipation of certain assets, from which the assets and financial

condition of the Debtors may be ascertained, is without cause.

       25.    The Debtors’ direct transfer of assets, such as the real estate proceeds, during

the pendency of the bankruptcy without notice or approval by the Trustee, is without cause,

and has harmed the financial condition of the Debtors’ estate.

       26.    The Debtors knowingly and fraudulently in connection with the case made a

false oath or account of the assets of the Estate.

       27.    The Debtors knowingly and fraudulently in connection with the case dissipated

assets of the Estate.

       28.    The Debtors knowingly and fraudulently refused to obey a lawful order of the

Court, when they refused to turn over the proceeds of the sale of real estate.

       29.    As set forth under §727(a)(4), the Debtor should be denied a discharge as a

result of his knowing attempt to conceal an asset in an effort to defraud his creditors.

       30.    Debtors also deliberately dissipated the asset with the intent to hinder, delay

or defraud their creditors.

       31.    As set forth under §727(a)(2), the Debtors should be denied a discharge as

a result of their attempt to conceal, transfer and dissipated an asset with intent to hinder,

delay or defraud their creditors.

       32.    As set forth under §727(a)(6), the Debtors should be denied a discharge as

a result of their actions in disobeying a lawful order of the court, and bankruptcy code


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provisions, in as much as they refused to turnover the proceeds they received from the sale

of Estate property.

              WHEREFORE, the Trustee prays this Honorable Court deny the discharge of the

Debtors and charge the Debtors with the cost of the Trustee’s filing and prosecution of said

Complaint.

                                             WILLIAM G. SCHWAB AND ASSOCIATES

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